               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE LEAGUE
OF WOMEN VOTERS OF NORTH CAROLINA,
DONNA PERMAR, JOHN P. CLARK, MARGARET
B. CATES, LELIA BENTLEY, REGINA
WHITNEY EDWARDS, ROBERT K. PRIDDY II,
WALTER HUTCHINS, AND SUSAN SCHAFFER,


                 Plaintiffs,

            v.

THE NORTH CAROLINA STATE BOARD OF
ELECTIONS; DAMON CIRCOSTA, in his
official capacity as CHAIR OF THE
STATE BOARD OF ELECTIONS; STELLA
ANDERSON, in her official capacity
as SECRETARY OF THE STATE BOARD OF          Civil Action
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE          No. 20-cv-00457
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in
his official capacity as MEMBER OF            LEGISLATIVE DEFENDANTS’
THE STATE BOARD OF ELECTIONS; DAVID               MOTION TO STRIKE
C. BLACK, in his official capacity              PLAINTIFFS’ JULY 2ND
as MEMBER OF THE STATE BOARD OF                     DECLARATIONS
ELECTIONS; KAREN BRINSON BELL, in her
official capacity as EXECUTIVE
DIRECTOR OF THE STATE BOARD OF
ELECTIONS; THE NORTH CAROLINA
DEPARTMENT OF TRANSPORTATION; J. ERIC
BOYETTE, in his official capacity as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,


                 Defendants,

                 and




    Case 1:20-cv-00457-WO-JLW Document 77 Filed 07/06/20 Page 1 of 4
PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPORE OF
THE NORTH CAROLINA SENATE; and
TIMOTHY K. MOORE, in his official
capacity as SPEAKER OF THE NORTH
CAROLINA HOUSE OF REPRESENTATIVES,


                    Legislative Defendant-
                    Intervenors.

                LEGISLATIVE DEFENDANTS’ MOTION TO STRIKE
                    PLAINTIFFS’ JULY 2ND DECLARATIONS

       Defendant-Intervenors Philip E. Berger, President Pro Tempore

of the North Carolina Senate, and Timothy K. Moore, Speaker of the

North       Carolina      House   of         Representatives           (“Legislative

Defendants”), for the reasons set forth in the accompanying brief,

respectfully       move   to   strike    the     declarations        submitted     by

Plaintiffs on July 2, 2020 and for an order requiring Plaintiffs,

by July 7, 2020 to refile the reply in support of their motion for

a    preliminary    injunction    without      references       to     the   stricken

declarations and their contents.

       In the alternative, to the extent the Court allows any portion

of    the   July   2nd    declarations       into   the    record,      Legislative

Defendants respectfully request (1) leave to depose the authors of

such declarations between now and July 17, 2020; (2) leave to file

a surreply of no more than 5,000 words, along with rebuttal

evidence, by July 21, 2020; and (3) that the Court reschedule the

preliminary     injunction     hearing   for     July     23,   2020    or   as   soon

thereafter as the matter may be heard.

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      Case 1:20-cv-00457-WO-JLW Document 77 Filed 07/06/20 Page 2 of 4
Dated: July 6, 2020                    Respectfully submitted,

/s/ Nicole J. Moss                     /s/ David H. Thompson
Nicole J. Moss (State Bar No.          David H. Thompson
31958)                                 Peter A. Patterson
COOPER & KIRK, PLLC                    Steven J. Lindsay*
1523 New Hampshire Avenue, NW          COOPER & KIRK, PLLC
Washington, D.C. 20036                 1523 New Hampshire Avenue, NW
(202) 220-9600                         Washington, D.C. 20036
nmoss@cooperkirk.com                   (202) 220-9600
                                       dthompson@cooperkirk.com
Local Civil Rule 83.1 Counsel
for Legislative Defendant-             Counsel for Legislative
Intervenors                            Defendant-Intervenors

                                       *Notice of Appearance
                                       Forthcoming




                                   2



    Case 1:20-cv-00457-WO-JLW Document 77 Filed 07/06/20 Page 3 of 4
                       CERTIFICATE OF SERVICE

     The undersigned counsel hereby certifies that on the 6th day

of July, 2020, she electronically filed the foregoing Legislative

Defendants’ Motion To Strike Plaintiffs’ July 2nd Declarations

with the Clerk of the Court using the CM/ECF system, which will

send notification of such to all counsel of record in this matter.


                                      /s/ Nicole J. Moss
                                      Nicole J. Moss




    Case 1:20-cv-00457-WO-JLW Document 77 Filed 07/06/20 Page 4 of 4
